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 6 United States of America

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 1:23-CR-00145-ADA-BAM
11
                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
12                                                      TIME PERIODS UNDER SPEEDY TRIAL ACT;
                           v.                           AND ORDER
13
     ALEXANDER ALVES, AND                               DATE: August 23, 2023
14   STEVEN MCTHAY,                                     TIME: 1:00 p.m.
                                                        COURT: Hon. Barbara A. McAuliffe
15                               Defendants.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

19 through defendants’ counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for status on August 23, 2023.

21          2.     By this stipulation, defendants now move to continue the status conference until

22 November 8, 2023, and to exclude time between August 23, 2023, and November 8, 2023, under 18

23 U.S.C. § 3161(h)(7)(A), B(iv) [Local Code T4].

24          3.     The parties agree and stipulate, and request that the Court find the following:

25                 a)      The government has represented that the discovery associated with this case

26          includes reports, photographs, and audio files. All of this discovery has been either produced

27          directly to counsel and/or made available for inspection and copying or is in the process of being

28          produced.


      STIPULATION REGARDING EXCLUDABLE TIME             1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1                 b)      Counsel for defendants desire additional time to further review discovery, discuss

 2          potential resolution with his client and the government, and investigate and prepare for trial.

 3                 c)      Counsel for defendants believe that failure to grant the above-requested

 4          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 5          into account the exercise of due diligence.

 6                 d)      The government does not object to the continuance.

 7                 e)      Based on the above-stated findings, the ends of justice served by continuing the

 8          case as requested outweigh the interest of the public and the defendant in a trial within the

 9          original date prescribed by the Speedy Trial Act.

10                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11          et seq., within which trial must commence, the time period of August 23, 2023 to November 8,

12          2023, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

13          T4] because it results from a continuance granted by the Court at defendants’ request on the basis

14          of the Court’s finding that the ends of justice served by taking such action outweigh the best

15          interest of the public and the defendants in a speedy trial.

16                 g)      The parties also agree that this continuance is necessary for several reasons,

17          including but not limited to, the need to permit time for the parties to exchange supplemental

18          discovery, engage in plea negotiations, and for the defense to continue its investigation and

19          preparation, pursuant to 18 U.S.C. § 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).

20          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

21 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

22 must commence.

23          IT IS SO STIPULATED.

24
      Dated: August 15, 2023                                  PHILLIP A. TALBERT
25                                                            United States Attorney
26
                                                              /s/ STEPHANIE M. STOKMAN
27                                                            STEPHANIE M. STOKMAN
                                                              Assistant United States Attorney
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      STIPULATION REGARDING EXCLUDABLE TIME               2
30    PERIODS UNDER SPEEDY TRIAL ACT
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      Dated: August 15, 2023                            /s/ ERIC KERSTEN
 1                                                      ERIC KERSTEN
                                                        Counsel for Defendant
 2
                                                        STEVEN MCTHAY
 3

 4    Dated: August 15, 2023                            /s/ MIKE MCKNEELY
                                                        MIKE MCKNEELY
 5                                                      Counsel for Defendant
 6                                                      ALEXANDER ALVES

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                                                 ORDER
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            IT IS SO ORDERED that the status conference is continued from August 23, 2023, to November
11
     8, 2023, at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe. Time is excluded pursuant to
12
     18 U.S.C.§ 3161(h)(7)(A), B(iv).
13
     IT IS SO ORDERED.
14

15      Dated:    August 15, 2023                        /s/ Barbara A. McAuliffe          _
                                                  UNITED STATES MAGISTRATE JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME         3
30    PERIODS UNDER SPEEDY TRIAL ACT
